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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 12-418V
                                    Filed: September 26, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
NANCY J. PASS,                *
                              *                               Special Master Gowen
           Petitioner,        *
                              *                               Joint Stipulation;
v.                            *                               Attorneys’ Fees and Costs;
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
           Respondent.        *
                              *
* * * * * * * * * * * * * * * *

F. John Caldwell. Jr., Maglio Christopher & Toale, P.A., Sarasota, FL, for petitioner.
Tara Kilfoyle, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On June 26, 2012, Nancy Pass (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that as a result of receiving an influenza (“flu”) vaccine on or about October 21, 2011, she
developed Guillain Barre Syndrome (“GBS”). Petition ¶¶ 1, 3. On June 25, 2014, the parties
filed a stipulation in which they agreed to an award of compensation to petitioner. On the same
day, I issued a Decision adopting the parties’ stipulation for an award. See Decision on J. Stip.,
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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filed June 25, 2014.

        On September 26, 2014, the parties filed a stipulation of attorneys’ fees and cost, attached
hereto as Appendix A. The parties agree to a total award of attorneys’ fees and costs to petitioner
and her counsel in the amount of $25,500.00. In accordance with General Order #9, petitioner
represents that she has not personally incurred expenses in this case. See Stipulation of
Attorneys’ Fees and Costs at ¶ 4.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney, F.
       John Caldwell, Jr., of Maglio Christopher & Toale, P.A., in the amount of $25,500.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.


                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
